Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.864 Filed 07/07/08 Page 1 of 10




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


PAUL EDWIN FREE,

                     Petitioner/Defendant,            Civil Case Number: 99-CV-73082
                                                      Crim. Case Number: 94-80095
v.
                                                      HONORABLE AVERN COHN
UNITED STATES OF AMERICA,

                Respondent/Plaintiff.
_________________________________/



                                ORDER
              DENYING DEFENDANT’S MOTION TO REOPEN CASE
                                  AND
     DENYING DEFENDANT’S MOTION TO DIRECT THE U.S. MARSHALS TO SEIZE
                                 FILES

                                             I.

        This is a criminal case. Defendant/Petitioner Paul Edwin Free (hereinafter

“defendant”) is a federal prisoner serving a life sentence following a jury conviction for

conspiracy to possess with intent to distribute and to distribute marijuana, in violation of

21 U.S.C. § 841(a)(1) and § 846. Before the Court is defendant’s motion styled “Motion

to Reopen the Case An Independent Action Under Fed. R. Civ. P. 60(b), the All Writs

Act, 28 U.S.C. § 1651, and the Court’s Inherent Power to Protect the Integrity of the

Judicial Process Based on Newly Discovered Evidence of Actual Innocence and

Multiple Instances of Fraud Upon the Court - by Officers of the Court.” Also before the

Court is defendant’s motion styled “Motion for Court’s Temporary Restraining Order

Directing the U.S. Marshals to Seize the Filed Relating to the Prosecution of this Case
Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.865 Filed 07/07/08 Page 2 of 10




Maintained by the Office of the U.S. Attorney, the DEA, the California Department of

Justice and Any Other Police Department Associated with This Case.” For the reasons

that follow, the motions will be denied.

                                            II.

       This case has a long history. In 1995, defendant was convicted by a jury of

conspiracy to distribute marijuana. The Court of Appeals for the Sixth Circuit’s opinion

on direct appeal sets forth the background leading to defendant’s conviction as follows:

       In 1993, a California drug dealer, Richard Sumpter, developed contacts
       with Roberto Huerta and Miquel Ontiveres, who could provide him with
       large quantities of marijuana from Mexico. Sumpter, in turn, sold the
       marijuana to Jerome Maddox in Detroit. Moving the marijuana across an
       international border and then into Michigan presented logistical problems,
       however, so Sumpter and his suppliers made arrangements to transfer the
       marijuana from Mexico to California to Detroit through the Defendants.

       Defendant Paul Free frequently coordinated the retrieval of marijuana
       shipments, delivered numerous shipments received from Huerta in Mexico
       to Sumpter in California.FN1 In July 1993, Free drove a rental truck from
       San Diego to Detroit to supply Sumpter with 200 pounds of marijuana from
       Huerta. Sumpter later established a buyer in New York, and in September
       1993, Free transported 250 pounds of marijuana from California to New
       York. Unable to complete the sale in New York, Free then carried the
       marijuana from New York to Maddox in Detroit, and the sales proceeds
       back to Sumpter in California.

                     FN1. Free facilitated the retrieval of marijuana
                     shipments in the Arizona desert.

       Free made two deliveries to Detroit in January 1994. On the first occasion,
       Free transported 400 pounds of marijuana in a motor home to Maddox's
       “stash house,” and returned to California with $350,000 in cash proceeds.
       On the next occasion, Free delivered 550 pounds of marijuana in a motor
       home to Detroit, and then flew back to California.

       Defendant Charles Crehore worked as a courier for Free, also transporting
       marijuana from California to Detroit. In December 1993, Free arranged for
       Crehore to deliver more than 400 pounds of marijuana to Detroit by motor
       home. One month later, in January 1994, Free had Crehore pick up a

                                             2
Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.866 Filed 07/07/08 Page 3 of 10




      motor home Free previously left in Detroit after completing a delivery.

      Defendant Elias Gaitan-Acevedo was a manager in the operation.
      Gaitan-Acevedo coordinated and supervised the shipments of marijuana
      from California to Detroit. He often participated in trips to retrieve the
      marijuana from the Arizona desert, and processed marijuana in California
      to prepare it for distribution in Detroit and other locations throughout the
      United States.

      Defendant Leonarda Oropeza Arechiga, commonly known as “Leah,” recruited,
      trained, and supervised couriers for the syndicate. Oropeza Arechiga received
      commissions for loads of marijuana that were delivered by the couriers she
      recruited.
      On January 21, 1994, Gaitan-Acevedo and others gave Douglas Shepherd a
      load of marijuana at the border. After a brief stop in Hemet, California, where he
      left two duffel bags of marijuana for Gaitan-Acevedo, Shepherd left for Detroit in
      a motor home to complete the delivery. On January 25, 1994, *584 law
      enforcement officers in Illinois stopped Shepherd and discovered 560 pounds of
      marijuana hidden in duffel bags in the motor home. The officers obtained
      Shepherd's cooperation, and he continued to Detroit to make a controlled
      delivery of the marijuana.

      While Shepherd was in transit, Sumpter, Curtis Oppedahl, and Defendants
      Crehore and Gaitan-Acevedo, flew from California to Detroit to meet Shepherd
      and the shipment of marijuana, and to retrieve the motor home left in Detroit by
      Defendant Free. Sumpter purchased the airplane tickets for all four of the
      travelers. When the men arrived in Detroit, they checked into four rooms at the
      Westin Hotel and waited for Shepherd to arrive. Shepherd and an undercover
      agent, wearing a monitoring device, went to the Westin Hotel at approximately
      12:05 a.m. on January 28, 1994. Gaitan-Acevedo met them in the hotel lobby
      and escorted them to the room where Sumpter was staying.

      After briefly discussing the marijuana shipment that had just arrived from
      California with Gaitan-Acevedo and Sumpter, Shepherd and the undercover
      agent left the room, at which time agents from the Drug Enforcement
      Administration (the “DEA”) entered and arrested Sumpter and Gaitan-Acevedo.
      DEA agents subsequently arrested Crehore in his hotel room, where the agents
      found marijuana in Crehore's coat pocket and $2,424.60 in cash in a dresser
      drawer.

      Shortly after the arrests in Detroit, law enforcement officers surveilling Sumpter's
      house in Corondo, California, saw Defendant Free arrive at Sumpter's house,
      load a suitcase into his pick-up truck, and then drive away. Officers arrested Free
      as he drove away from the residence. When the arresting officers opened the
      suitcase, they discovered $60,000 in cash and two semi-automatic handguns.

                                            3
Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.867 Filed 07/07/08 Page 4 of 10




United States v. Gaitan-Acevedo, 148 F.3d 577, 583-84 (6th Cir. 1998).

       Defendant filed a direct appeal, raising several issues, as follows:

       1.     whether the district court erred in admitting co-conspirator Richard
              Sumpter’s testimony regarding his fear of defendants,

       2.     whether the district court erred in admitting an 11-page summary exhibit,
              exhibit 41(b), depicting the results of an analysis of voluminous telephone
              toll records,

       3.     whether the district court erred in admitting evidence that, after he was
              arrested and released in January of 1994, defendant fled to Mexico,

       4.     whether the district court abused its discretion by allowing a witness,
              Robert Lillie, to refuse to testify by invoking his Fifth Amendment right
              against self-incrimination when defendant attempted to call him as a
              defense witness the following day,

       5.     whether the district court erred in denying his motion for a new trial
              premised upon newly discovered evidence. Specifically, defendant
              argued that a member of the conspiracy, Antonio Diaz, who did not testify
              at trial, indicated at the end of the trial, after his plea was taken, that the
              person named “Paul,” who went to Arizona to pick up marijuana, was not
              in fact defendant.

The Sixth Circuit affirmed defendant’s conviction. United States v. Gaitan-Acevedo, 148

F.3d 577 (6th Cir. 1998).

       In 2000, defendant filed a motion under § 2255 claiming that: (1) trial counsel

provided ineffective assistance; (2) the trial judge abused his discretion by denying

petitioner’s request for new counsel prior to trial; (3) the trial was fundamentally unfair;

(4) a witness committed perjury at trial; (5) the admission of petitioner’s prior felony drug

conviction at sentencing violated his right to due process; (6) the trial judge fell asleep

during trial; and (7) the prosecutors engaged in misconduct.



       The matter was referred to a magistrate judge for a report and recommendation

                                              4
Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.868 Filed 07/07/08 Page 5 of 10




(MJRR). The magistrate judge carefully considered all of petitioner’s claims on the

merits and recommended that defendant’s motion be denied. See MJRR dated July 11,

2000. Defendant’s counsel and defendant separately filed objections. Petitioner then

moved to amend his motion to raise a claim that his sentence violates Apprendi v. New

Jersey, 530 U.S. 466 (2000), which was granted.

       The Court agreed with the magistrate judge’s analysis and conclusion regarding

defendant’s claims pertaining to his conviction and denied defendant’s motion to the

extent that he sought to have his conviction vacated. The Court, however, found that

Apprendi applied to defendant’s case,1 that the claim warranted a closer review, and

remanded the case to the magistrate judge for a supplemental report and

recommendation with respect to defendant’s sentence in light of Apprendi. See Order

filed August 13, 2001.2

       The magistrate judge has issued a Supplemental MJRR recommending that

defendant’s Apprendi claim be denied because although at the time the Court found that

Apprendi applied to defendant, the Sixth Circuit had not yet ruled on whether Apprendi

applied retroactively to initial § 2255 motions, the Sixth Circuit subsequently ruled that it

does not. Goode v. United States, 2002 WL 987905 (6th Cir. May 10,


       1
       In ruling that Apprendi applied to Petitioner, the Court followed the decision from
another judge in this district holding that Apprendi applies retroactively to initial § 2255
motions. See Order filed August 13, 2001 at p. 5 (citing Jackson v. United States, 129
F. Supp. 2d 1053 (E.D. Mich. 2000)).
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        Thereafter, Petitioner filed a Notice of Appeal, seeking to appeal the portion of
the Court’s August 13, 2001 Order denying him § 2255 relief and the Court’s October
10, 2001 Order denying his motion for reconsideration. The Court issued an order
denying a certificate of appealability. See Order Denying Certificate of Appealability,
filed October 31, 2001.

                                              5
Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.869 Filed 07/07/08 Page 6 of 10




2002)(unpublished). Thus, the magistrate judge recommended that defendant’s claim

be denied based on Goode. Alternatively, the magistrate judge found that even if

Apprendi applied, defendant was still not entitled to relief because he was not

prejudiced for the failure to submit the issue of drug quantity to the jury, based on the

evidence of drug quantity adduced during the trial which was more than sufficient to

subject defendant to a life sentence. Defendant objected to the supplemental MJRR,

arguing that whether Apprendi applies retroactively is still an open question and urges

the Court to apply it to defendant’s case. The Court denied the objection and adopted

the MJRR. See Order filed July 12, 2002. The Court denied a certificate of

appealability. See Order filed December 16, 2002. Defendant appealed. The Sixth

Circuit declined to issue a certificate of appealability. See Order in Case Nos. 03-1077,

03-2093, filed January 9, 2004.

       On April 24, 2008, defendant filed the instant motion. The Court directed the

government to file a response, which it did. Defendant filed a reply. The matter is now

ready for decision.

                                               III.

       Although defendant cites several grounds of authority for his motion, the motion

is properly construed as a motion under Fed. R. Civ. P. 60(b) asking the Court to vacate

its order denying § 2255 relief and/or reopen his case on the grounds that there has

been a fraud upon the Court and defendant is actually innocent. Defendant thus raises

an independent action for fraud upon the court. In order to succeed, defendant is

required to prove five elements: (1) conduct by an officer of the court (2) that is directed

towards the judicial machinery itself, (3) that is intentionally false, wilfully blind to the

                                                6
Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.870 Filed 07/07/08 Page 7 of 10




truth or is in reckless disregard for the truth, (4) that is a positive averment or

concealment when one is under a duty to disclose and (5) that deceives the court.

Workman v. Bell, 484 F.3d 837, 840 n. 1 (6th Cir. 2007). “Independent actions must . . .

be reserved for those cases of ‘injustices which, in certain instances, are deemed

sufficiently gross to demand a departure’ from rigid adherence to the doctrine of res

judicata.” United States v. Beggerly, 524 U.S. 38, 46 (1998) (quoting Hazel-Atlas Glass

Co. v. Hartford-Empire Co., 322 U.S. 238 (1944). See also Charter Tp. of Muskegon v.

City of Muskegon, 303 F.3d 755, 760 (6th Cir. 2002).

                                             IV.

         As the government points out, defendant raises many of the same issues raised

on direct appeal and in his §2255, essentially arguing that they have been wrongly

decided. As explained below, none of his reasserted claims constitute a fraud upon the

court.

         Defendant in particular says that he was not the “Paul” who committed the

crimes, referencing the fact that Antonio Diaz was not called to support his claim.

Defendant raised the issue of Diaz’s testimony in a motion for new trial which the district

court denied. He also raised the issue on appeal, which was rejected, and in his § 2255

motion. Defendant’s repetition of the same argument of mis-identification does not

establish that a fraud was committed on the court.

         Defendant also says he is actually innocent because he has an alibi that he was

a student taking classes at San Diego State University instead of trafficking in marijuana

and based on hotel records. Defendant raised these issues in his § 2255 motion. The

magistrate judge found the claim relating to being a student did not warrant relief

                                               7
Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.871 Filed 07/07/08 Page 8 of 10




because records of his college enrollment were admitted at trial. Defendant also says

that hotel records show he could not have been in two places at once. In his § 2255,

the magistrate judge noted that this defense was made at trial, the hotel records were

introduced, and the case agent examined on the alleged inconsistency. The fact that

the jury rejected defendant’s alibi defense is not grounds for fraud upon the court.



       Defendant again raises the issue regarding a co-conspirator’s testimony, Robert

Lillie, who invoked his Fifth Amendment right at trial. This was raised and rejected on

direct appeal and in his § 2255 motion. Defendant does not offer any new evidence or

analysis of this issue.

       Defendant also says he was entitled to a hearing on his claim raised in his §

2255 that the trial judge fell asleep. The magistrate judge noted that collateral review of

this claim was barred. Defendant does not allege any fraud associated with this claim,

but rather disagrees with the fact it has been rejected.

       Defendant’s Apprendi claim, which he again raises, has been rejected as fully

explained above.

       The only possible question of fraud presented in defendant’s motion relates to his

co-defendant, Charles Crehore, regarding an inadvertent error the government made in

its brief on appeal regarding linking Crehore to a post-arrest load of marijuana based on

certain false statements. Crehore raised this issue before the Court in a Rule 60(b)

motion, which the Court denied. Crehore appealed the denial. The Sixth Circuit

affirmed, noting that the mistake was called to the attention of the original panel on

direct appeal, who declined to withdraw the mandate. The government also did not rely

                                             8
Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.872 Filed 07/07/08 Page 9 of 10




on the false statements in arguing that the load was properly attributable to Crehore in

Crehore’s § 2255 proceeding. See Crehore v. United States, No. 06-2110 (6th Cir. Nov.

7, 2007). Thus, Crehore has not obtained relief based on this allegation of fraud. More

significantly, defendant was unaffected by the error. As the Sixth Circuit stated in

defendant’s direct appeal, defendant was held responsible for 11 loads of marijuana

which totaled, using “extremely conservative estimates,” 1756 kilograms of marijuana.

Gaitan-Acevedo, 148 F.3d at 595.

       Defendant also appears to seek to raise a number of new claims, regarding his

sentence, that prison guards destroyed his legal mail, regarding the fact that many

states have passed medical marijuana laws. None of these claims constitute a valid

ground for reopening his § 2255 litigation, or any aspect of his case.

                                            IV.

       Defendant has devoted numerous pages to attacks on the prosecutor and the

magistrate judge who presided over his § 2255 proceedings, but he fails to allege a

single instance of fraudulent conduct by the government in the litigation of his § 2255

motion. Defendant instead reargues claims raised on direct appeal and in his §2255

proceedings, as well as seeks to raise new claims, none of which constitutes a fraud

upon the court. Accordingly, there is no basis to reopen or grant defendant relief

relative to his § 2255. The motion is DENIED.




       Finally, defendant’s motion to have the marshals seize the government’s files is

                                            9
Case 2:94-cr-80095-AC-VMM ECF No. 1290, PageID.873 Filed 07/07/08 Page 10 of 10




 DENIED for lack of merit.

       SO ORDERED.



                                          s/Avern Cohn
                                         AVERN COHN
                                         UNITED STATES DISTRICT JUDGE


 Dated: July 7, 2008


 I hereby certify that a copy of the foregoing document was mailed to Paul Free, #42235-
 198, USP Atwater, U.S. Penitentiary, P.O. Box 019001, Atwater, CA 95301 and the
 attorneys of record on this date, July 7, 2008, by electronic and/or ordinary mail.


                                          s/Julie Owens
                                         Case Manager, (313) 234-5160




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